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  11

  12                                UNITED STATES DISTRICT COURT
  13                              NORTHERN DISTRICT OF CALIFORNIA
  14

  15    GEARY SHA, an individual,                        Case No. 3:24-cv-01738
  16                                        Plaintiff,   DEFENDANT AIRCRAFT SERVICE
                                                         INTERNATIONAL, INC.’S NOTICE OF
  17                    vs.                              REMOVAL OF ACTION 28 U.S.C. § 1332
                                                         (DIVERSITY JURISDICTION)
  18    AIRCRAFT SERVICE INTERNATIONAL,
        INC., a Delaware corporation; MENZIES            Filed concurrently with:
  19    AVIATION (USA), INC., a Delaware
        corporation; TRACY AGUILAR, an individual;          i. Declaration of Kevin Jackson;
  20    and DOES 1 through 50, inclusive,                   ii. Declaration of Talin Bazerkanian;
                                                            iii. Civil Cover Sheet;
  21                                   Defendants.          iv. Certification of Conflicts and Interested
                                                                 Entities or Persons;
  22                                                        v. Disclosure Statement;
                                                            vi. Certificate of Service
  23

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    1              TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
    2   NORTHERN DISTRICT OF CALIFORNIA:
    3              PLEASE TAKE NOTICE that Defendant Aircraft Service International, Inc. (“ASI”), pursuant
    4   to 28 U.S.C. sections 1332, 1441 and 1446, hereby invokes this Court’s jurisdiction and removes the
    5   above-captioned case, pending in the Superior Court of the State of California, County of San Francisco,
    6   Case No. CGC-23-606989, to the United States District Court for the Northern District of California on
    7   the following grounds:
    8              1.    On June 9, 2023, Plaintiff Geary Sha (“Plaintiff”) commenced this action by filing a
    9   Complaint in the Superior Court of the State of California, County of San Francisco entitled “GEARY
  10    SHA, an individual vs. AIRCRAFT SERVICE INTERNATIONAL, INC., a Delaware corporation;
  11    MENZIES AVIATION (USA), INC., a Delaware corporation; TRACY AGUILAR, an individual; and
  12    DOES 1 through 50, inclusive,” Case No. CGC-23-606989. A true and correct copy of Plaintiff’s
  13    Complaint is attached to the Declaration of Kevin Jackson as Exhibit A. (Declaration of Kevin Jackson
  14    (“Jackson Decl.”), ¶ 2 Ex. A (“Complaint”).)
  15               2.    On June 14, 2023, Menzies Aviation (USA), Inc. (“Menzies”) and Tracy Aguilera
  16    (“Aguilera”) 1, through counsel, each received a copy of the Complaint and a Notice and
  17    Acknowledgment of Receipt. True and correct copies of each Notice and Acknowledgment of Receipt
  18    are attached to the Declaration of Kevin Jackson within Exhibits B and C. (Jackson Decl., ¶ 3, Exs. B-
  19    C)..
  20               3.    On or around June 15, 2023, ASI received service of the Complaint. (Declaration of
  21    Talin Bazerkanian (“Bazerkanian Decl.”), ¶ 2; Jackson Decl., ¶ 4.
  22               4.    On July 5, 2023, Menzies and Aguilera, by and through counsel, each returned a
  23    completed Notice of Acknowledgment of Receipt, pursuant to California Code of Civil Procedure
  24    section 415.30. Conformed copies of the foregoing are attached to the Declaration of Kevin Jackson as
  25    Exhibits D and E. (Jackson Decl., ¶ 5 Exs. D-E.)
  26               5.    Plaintiff’s Complaint alleges the following causes of action against ASI and Menzies: (1)
  27    Disability Discrimination in Violation of Cal. Gov. Code Section 12900 et seq.; (2) Harassment and
  28
        1
            Plaintiff erroneously named Tracy Aguilera as “TRACY AGUILAR.” (Jackson Decl., ¶ 1, fn. 1.)
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    1   Hostile Work Environment in Violation of Cal. Gov. Code Section 12900 et seq.; (3) Failure to Prevent
    2   Discrimination and Harassment in Violation of Cal. Gov. Code Section 12900 et seq.; (4) Retaliation in
    3   Violation of Cal. Gov. Code Section 12900 et seq.; (5) Wrongful Termination in Violation of Public
    4   Policy (Count I); and (6) Wrongful Termination in Violation of Public Policy (Count II). (See generally,
    5   Complaint.)
    6              6.    Of the six causes of action, Plaintiff only brings one claim against Aguilera—the Second
    7   Cause of Action for Harassment and Hostile Work Environment. (Complaint, ¶¶ 47-58.)
    8              7.    Based on the face of the Complaint, Defendants were not on notice that the case was
    9   removable and thus did not remove to this Court at this time because complete diversity was not present
  10    and Menzies did not have any ability to evaluate fraudulent joinder at that time. (See discussion at
  11    Sections I.C and II.A, infra.)
  12               8.    On August 4, 2024, ASI, Menzies, and Aguilera (collectively, “Defendants”) issued a
  13    Notice of Deposition of Plaintiff for September 19, 2023, at 10:00 a.m., and subsequently met and
  14    conferred with Plaintiff’s counsel to ultimately select a mutually-agreeable deposition date of February
  15    6, 2024. A true and correct copy of the Notice of Deposition for February 6, 2024 is attached to the
  16    Declaration of Kevin Jackson as Exhibit F. (Jackson Decl., ¶ 6, Ex. F.)
  17               9.    On February 6, 2024, Defendants took the first session of the deposition of Plaintiff.
  18    (Jackson Decl., ¶ 8.)
  19               10.   On February 19, 2024, Defendants’ counsel received a certified transcript of Plaintiff’s
  20    February 6, 2024 deposition session. (Jackson Decl., ¶ 9.) A true and correct copy of the transmittal
  21    letter regarding the same is attached to the Declaration of Kevin Jackson as Exhibit H. (Jackson Decl.,
  22    ¶ 9 Ex. H.) True and correct copies of relevant excerpts from the certified transcript of Plaintiff’s
  23    deposition are attached to the Declaration of Kevin Jackson as Exhibit I. (Jackson Decl., ¶ 10, Ex. I.)
  24               11.   Upon receipt of Plaintiff’s certified deposition transcript, Defendants became aware that
  25    there is no possibility that Plaintiff can establish a cause of action against Aguilera, making it clear that
  26    Plaintiff has fraudulently joined Aguilera as a “sham defendant” in an improper attempt to avoid
  27    diversity jurisdiction. (See discussion at Sections I.C and II.A, infra.)
  28               12.   This Action is now, after Plaintiff’s first deposition session, definitely one over which

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    1   this Court has original jurisdiction pursuant to 28 U.S.C. section 1332 and may be removed to this Court
    2   pursuant to 28 U.S.C. section 1441 because it is a civil action between citizens of different states and the
    3   matter in controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs.
    4              13.   This action was not commenced in state court more than one year before the date of
    5   removal. See 28 U.S.C. § 1446(c)(1).
    6              14.   No previous notice of removal has been filed in this case.
    7              15.   A true and correct copy of the state court docket in the Superior Court of the State of
    8   California, County of San Francisco, is attached to the Jackson Declaration as Exhibit K.
    9              16.   Pursuant to 28 U.S.C. section 1446(a), true and correct copies of all process and
  10    pleadings filed with the San Francisco Superior Court are attached to the Jackson Declaration as Exhibit
  11    L.
  12               17.   Pursuant to 28 U.S.C. sections 84(a) and 1441(a), the United States District Court for the
  13    Northern District of California embraces the county in which the Complaint was pending and, thus, this
  14    Court is the proper forum for removal.
  15               18.   Pursuant to 28 U.S.C. section 1446(a), Menzies and Aguilera are represented by the same
  16    counsel as ASI and consent to the removal.
  17    I.         THIS ACTION IS SUBJECT TO REMOVAL ON THE BASIS OF COMPLETE
  18               DIVERSITY JURISDICTION
  19                     A.     Plaintiff is a Citizen of California
  20               19.   At the time of the filing of the action and at the time of filing this Notice of Removal,
  21    Plaintiff was and still is a citizen of California, inasmuch as Plaintiff alleges that he “is, and at all
  22    relevant times was, a resident of Vallejo, California.” (See Complaint at ¶ 1.) For purposes of assessing
  23    diversity jurisdiction, Plaintiff is a citizen of the State of California. See Kantor v. Wellesley Galleries,
  24    Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983) (holding that for diversity purposes, a person is a citizen of the
  25    state in which they are domiciled).
  26                     B.     ASI and Menzies are Non-California Citizens
  27               20.   For the purposes of diversity of citizenship, a corporation is a citizen of every state or
  28    foreign country where it is incorporated and where it has its principal place of business. See 28 U.S.C. §

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    1   1332(c)(1); Hertz Corp. v. Friend, 559 U.S. 77, 80 (2010) (holding principal place of business for
    2   purposes of citizenship “refers to the place where the corporation’s high level officers direct, control,
    3   and coordinate the corporation’s activities”).
    4              21.   ASI is a Delaware corporation with its principal place of business in Grapevine, Texas.
    5   (Bazerkanian Decl., ¶ 3 Plaintiff admits the same. (Complaint at ¶ 2.) Accordingly, ASI is a resident of
    6   Delaware and Texas and no other state for purposes of diversity jurisdiction.
    7              22.   Menzies is a Delaware corporation with its principal place of business in Grapevine,
    8   Texas. (Bazerkanian Decl., ¶ 3. Menzies’ principal place of business was previously in Fort Worth,
    9   Texas. (Bazerkanian Decl., ¶ 3. Plaintiff admits that Menzies is a Delaware corporation and avers that
  10    Menzies’ principal place of business is located in Fort Worth, Texas. (Complaint at ¶ 3.) Accordingly,
  11    Menzies is a resident of Delaware and Texas and no other state for purposes of diversity jurisdiction.
  12                     C.     The Citizenship of Aguilera and the Doe Defendants Should be Disregarded
  13               23.   The Complaint names Aguilera as a defendant in the Second Cause of Action for
  14    Harassment and Hostile Work Environment under the California Fair Employment and Housing Act (the
  15    “FEHA”). (Complaint at ¶¶ 4, 12-32, 47-58.) While Plaintiff alleges Aguilera is a resident of
  16    California, “one exception to the requirement for complete diversity is where a non-diverse defendant
  17    has been ‘fraudulently joined.’” Hunter v. Philip Morris USA, 582 F.3d 1039, 1043 (9th Cir. 2009)
  18    (quoting Morris v. Princess Cruises, Inc., 236 F.3d 1061, 1067 (9th Cir. 2001)).
  19               24.   Under the Ninth Circuit’s approach to fraudulent joinder, “[i]f the plaintiff fails to state a
  20    cause of action against a resident defendant, and the failure is obvious according to the settled rules of
  21    the state, the joinder of the resident defendant is fraudulent,” meaning that the defendant’s citizenship
  22    may be ignored for diversity purposes. McCabe v. Gen. Foods Corp., 811 F.2d 1336, 1339 (9th Cir.
  23    1987). In other words, the removing defendant must show that the resident defendant joined in the
  24    action “cannot be liable on any theory.” Ritchey v. Upjohn Drug Co., 139 F.3d 1313, 1318 (9th Cir.
  25    1998). “[I]f there is a possibility that a state court would find that the complaint states a cause of action
  26    against any of the resident defendants, the federal court must find that the joinder was proper and
  27    remand the case to the state court.” Grancare, LLC v. Thrower by and through Mills, 889 F.3d 543, 548
  28    (9th Cir. 2018) (internal quotation marks and citation omitted; emphasis in original).

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    1              25.   “[I]n determining whether a removing defendant has met its burden, courts may consider
    2   not only the plaintiff’s complaint (plus matters referenced therein and/or subject to judicial notice) but
    3   also additional ‘summary judgment type evidence.’” FullStory, Inc. v. N. Am. Capacity Ins. Co., No.
    4   CV 22-7344-GW-ASX, 2023 WL 371779, at *2 (C.D. Cal. Jan. 6, 2023) (quoting Valdez v. Allstate Ins.
    5   Co., 372 F.3d 1115, 1117 (9th Cir. 2004); Morris, 236 F.3d at 1068 (citing Cavallini v. State Farm
    6   Mutual Auto Ins. Co., 44 F.3d 256, 263 (5th Cir. 1995))). As demonstrated below, there is no possibility
    7   that Plaintiff can establish a cause of action against Aguilera, and as a result, Aguilera’s citizenship is of
    8   no consequence to the determination of complete diversity for this removal.
    9              26.   The Complaint also names Defendant Does 1 through 50. Pursuant to 28 U.S.C. section
  10    1441(b)(1), the citizenship of these defendants is disregarded.
  11                            i.      There is No Possibility Plaintiff Can Establish a Cause of Action
  12                                    Against Aguilera
  13               27.   Plaintiff’s only claim against Aguilera is for hostile work environment harassment in
  14    violation of the FEHA. The FEHA makes it unlawful for an employer or any other person because of,
  15    inter alia, physical disability, “to harass an employee . . . .” Cal. Gov’t Code § 12940(j)(1). To
  16    establish a prima facie case of hostile work environment harassment, a plaintiff must show that (1) he is
  17    a member of a protected class; (2) he was subjected to unwelcome harassment; (3) the harassment was
  18    based on his protected status; (4) the harassment unreasonably interfered with his work performance by
  19    creating an intimidating, hostile, or offensive work environment; and (5) defendants are liable for the
  20    harassment. Villalobos v. Costco Wholesale Corp., No. 223CV00622DJCJDP, 2023 WL 5108499, at *4
  21    (E.D. Cal. Aug. 9, 2023) (citing Galvan v. Dameron Hosp. Ass’n, 37 Cal. App. 5th 549, 563 (2019)).
  22    Aguilera’s conduct, as alleged by Plaintiff and as described by Plaintiff at deposition, is not the type of
  23    conduct that can be properly characterized as actionable harassment and there is no other basis for
  24    Plaintiff to assert personal liability against Aguilera.
  25               28.   Although an individual may be liable for harassment in violation of California
  26    Government Code section 12940, the type of conduct that qualifies as actionable harassment, rather than
  27    discrimination, is narrowly circumscribed. See Miller v. Department of Corrections, 36 Cal. 4th 446,
  28    461 n. 5 (2005); Reno v. Baird, 18 Cal. 4th 640, 645-46 (1998); Janken v. GM Hughes Elecs., 46 Cal.

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    1   App. 4th 55, 63 (1996). “[H]arassment focuses on situations in which the social environment of the
    2   workplace becomes intolerable because the harassment (whether verbal, physical, or visual)
    3   communicates an offensive message to the harassed employee.” Roby v. McKesson Corp., 47 Cal. 4th
    4   686, 706 (2009) (emphasis in original). “Harassment is not conduct of a type necessary for management
    5   of the employer’s business or performance of the supervisory employee’s job.” Reno, 18 Cal. 4th at
    6   646; Thompson v. City of Monrovia, 186 Cal. App. 4th 860, 879 (2010); Janken, 46 Cal. App. 4th at 63.
    7   By contrast, “commonly necessary personnel management actions such as hiring and firing, job or
    8   project assignments, office or work station assignments, promotion or demotion, performance
    9   evaluations, the provision of support, the assignment or nonassignment of supervisory functions,
  10    deciding who will and who will not attend meetings, deciding who will be laid off, and the like, do not
  11    come within the meaning of harassment.” Reno, 18 Cal. 4th at 646-47; Janken, 46 Cal. App. 4th at 64-
  12    65. Because “[m]aking personnel decisions is an inherent and unavoidable part of the supervisory
  13    function,” such personnel decisions cannot provide a basis for individual liability. Reno, 18 Cal. 4th at
  14    646-47. Therefore, any conduct that involves the exercise of personnel management authority
  15    delegated by an employer cannot constitute harassment. Janken, 46 Cal. App. 4th at 64.
  16               29.   Here, Plaintiff’s Complaint and deposition testimony evidence that all of Aguilera’s
  17    purported actions were ordinary personal management actions which are insufficient as a matter of law
  18    to give rise to a claim for harassment against an individual. In relevant part, Plaintiff alleges the
  19    following against Aguilera, a Human Resources Manager:
  20                     Defendants harassed Plaintiff via the actions of Aguilar, who acting in her
  21                     capacity as an agent and employee of ASI and Menzies, repeatedly (i)
                         sought to obstruct Plaintiff’s return to work, (ii) continually threatened
  22                     Plaintiff with his ‘voluntary resignation’ despite multiple written statements
                         from Plaintiff that he would not resign, (iii) gave Plaintiff unrealistic
  23                     deadlines for which to decide whether to take over a 50% pay cut or relocate
                         his family across or to another country, (iv) ignored and failed to investigate
  24                     Plaintiff’s claim of disparate treatment based upon his disability/medical
  25                     leave, and (v) instead responded by terminating Plaintiff’s employment.

  26    (Complaint at ¶¶ 4, 53.)
  27               30.   Based on the face of the Complaint, it was ambiguous what Plaintiff meant by his
  28    allegation that Aguilera “repeatedly . . . sought to obstruct [his] return to work,” which necessitated his

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    1   deposition. Most critically, Plaintiff (who worked in a position of superior authority to Aguilera),
    2   admitted at deposition that he believes Aguilera did not have authority to even make a termination
    3   decision, that he did not know the reason Menzies terminated his employment, and that Aguilera was
    4   simply performing her regular duties as a Human Resources Manager with respect to her
    5   communications to him regarding the company’s decision. (Jackson Decl., ¶ 10, Ex. I, Sha Dep. Tr. at
    6   89:11-94:8; 97:12-99:17; 106:8-13; 165:9-166:9; 207:17-208:17.)
    7              31.   At deposition, when asked what specifically Plaintiff believed constituted Aguilera’s
    8   efforts to “obstruct [his] return to work” Plaintiff testified: “Well, she . . . used [the] word ‘voluntary
    9   resignation’ every time. I felt threaten[ed] because I don’t resign, at all, or voluntary resign.” (Jackson
  10    Decl., ¶ 10, Ex. I, Sha Dep. Tr. at 206:25-207:7.) Aguilera’s purported “threat[s]” regarding “voluntary
  11    resignation” cannot support a harassment claim as a matter of law. See Lewis v. UPS, Inc., 252 F. App’x
  12    806, 808 (9th Cir. 2007) (threat of termination cannot be analyzed as harassment because it is a
  13    personnel-management action). Moreover, Plaintiff admitted that (1) to be entitled to job protection
  14    upon return from his leave of absence, he would have needed to return to work before his FMLA/CFRA
  15    leave expired, (2) he understood he had exhausted his entitlement to FMLA/CFRA leave as of May 6,
  16    2022, (3) as of May 7, 2022, he understood he did not have job protection rights such that return to his
  17    General Manager position was not guaranteed, (4) he did not return from leave until December 20, 2022,
  18    by which point his General Manager position had been eliminated, and (5) upon his return, he refused
  19    vacant positions at the San Francisco location and to be considered for available manager-level positions
  20    outside California. (Jackson Decl., ¶ 9, Ex. H, Sha Dep. Tr. at 116:12-16, 128:5-8, 129:9-14, 156:5-9,
  21    166:3-14, 171:20-172:1, 173:5-8, 178:21-179:3, 181:1-5, 187:8-189:3, 191:8-25.) Accordingly, the
  22    underlying context—that Plaintiff refused work following an unprotected leave of absence and
  23    elimination of his position—illustrates that Aguilera’s purported comments as a Human Resources
  24    Manager regarding “voluntary resignation” are part-and-parcel of personnel management decisions.
  25    Moreover, the characterization of Plaintiff’s separation is simply a personnel management action, not
  26    harassing conduct or statements attributable to any protection classification or activity.
  27               32.   The same is true of Plaintiff’s allegations that Aguilera purportedly gave Plaintiff
  28    “unrealistic deadlines.” Aguilera gave Plaintiff multiple days to accept available positions at the San

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    1   Francisco location or to consider management-level positions (which he requested) at other locations.
    2   (Jackson Decl., ¶ ¶ 10, Ex. I, Sha Dep. Tr. at 158:11-15, 167:19-168:11, 182:5-12; Jackson Decl., ¶ 10-
    3   11, Ex. I-J, Sha Dep. Ex. 22.) Again, this occurred after his position had been eliminated and following
    4   his return from a non-job-protected leave of absence, and is part and parcel of “commonly necessary
    5   personnel management actions such as hiring and firing, job or project assignments, [etc.].” Janken, 46
    6   Cal. App. 4th at 64-65; (Jackson Decl., ¶ 10, Ex. I, Sha Dep. Tr. at 128:5-8, 129:9-14, 166:3-14.)
    7              33.   Taking Plaintiff’s allegations together with his testimony, Aguilera’s conduct cannot
    8   support a claim for individual liability as a matter of law. See Ferrigno v. Philips Elecs. N. Am. Corp.,
    9   No. C-09-03085 RMW, 2009 WL 10692955, at *4 (N.D. Cal. Nov. 5, 2009) (denying motion to remand
  10    where plaintiff asserted harassment claim against human resources supervisor as there were “no facts
  11    pleaded to suggest [defendant’s] acts were out of meanness or bigotry nor [were] there any allegations
  12    that [defendant] made derogatory or ageist comments”—rather, “[a]t most plaintiff ha[d] pleaded facts
  13    that show [defendant] acted outside the scope of her authority while in her role as the human resources
  14    representative”); Velente-Hook v. E. Plumas Health Care, 368 F. Supp. 2d 1084, 1102-04 (E.D. Cal.
  15    2005) (granting summary judgment for employer on disability/medical condition harassment claim
  16    where plaintiff alleged, inter alia, that employer “told her that she would be fired if she could not return
  17    to work due to her medical condition” and “forced the plaintiff to resign or risk further harm to her
  18    health,” as the incidents plaintiff complained of, including the decision to require plaintiff to return to
  19    work, fell “within the scope of job duties of a type necessary to business and personnel management”);
  20    compare with Miller, 36 Cal. 4th at 451 (plaintiffs stated a prima facie case of harassment by alleging
  21    that promotions and favorable job assignments were given to female employees involved in sexual
  22    relationships with a particular male supervisor, as “widespread” sexual favoritism could convey a
  23    “demeaning message” to female employees that they are viewed by management as “sexual playthings”
  24    or that the way required for women to get ahead in the workplace is to engage in sexual conduct with
  25    their supervisors or the management).
  26               34.   With respect to Plaintiff’s contentions that Aguilera allegedly ignored and failed to
  27    investigate his claim of disparate treatment (which he made only after Menzies eliminated his position)
  28    and instead responded by terminating his employment, such incidents are commonly necessary

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    1   personnel actions insufficient to state a harassment claim as a matter of law. See Cofer v. Parker-
    2   Hannifin Corp., 194 F. Supp. 3d 1014, 1021 (C.D. Cal. 2016) (dismissing hostile work environment
    3   harassment claim against supervisor where plaintiff alleged, inter alia, “his discrimination claims were
    4   not investigated” and he was terminated, as these official employment actions were personnel-related
    5   decisions insufficient to state a claim); Fiol v. Doellstedt, 50 Cal. App. 4th 1318, 1330-31 (1996)
    6   (explaining that a supervisor’s failure to address employee complaints is a personnel decision, not
    7   harassment). Indeed, Plaintiff admitted that Aguilera’s communication of termination decisions to
    8   employees was an ordinary function of her position. (Jackson Decl., ¶ 10, Ex. I, Sha Dep. Tr. at 92:10-
    9   93:25.)
  10               35.   Plaintiff also testified to the scope of communications that he had with Aguilera, which
  11    forecloses his ability to amend the Complaint to state a claim for individual liability against Aguilera.
  12    Specifically, at deposition, Plaintiff confirmed the extent of his communications with Aguilera.
  13    (Jackson Decl., ¶ 10, Ex. I. Sha Dep. Tr. at 204:18-205:1, 205:11-24.) Plaintiff admitted that through
  14    December 13, 2022, he (1) had not formed an opinion that anyone at Menzies 2 harbored animus towards
  15    him because of his medical condition or need for time off, including Aguilera, and (2) could not identify
  16    any comments or statements that anybody from Menzies made to him that he found to be inappropriate
  17    remarks concerning his medical condition or need for time off. (Jackson Decl., ¶ ¶ 10, Ex. I, Sha Dep.
  18    Tr. at 154:20-155:10.) Plaintiff then testified that, after December 13, 2022, his next communication
  19    with anyone at Menzies was when he returned on December 20, 2022. (Jackson Decl., ¶ ¶ 10, Ex. I, Sha
  20    Dep. Tr. at 156:5-9.) Plaintiff’s testimony regarding his communications with Aguilera on December
  21    20, 2022 does not evince Aguilera made any hostile comments to Plaintiff nor any improper action
  22    attributable to Aguilera that sent a demeaning message to him or other employees. (Jackson Decl., ¶ ¶
  23    10, Ex. I, Sha Dep. Tr. at 156:10-159:21; compare with Asurmendi v. Tyco Elecs. Corp., No. C 08-5699
  24    JF PVT, 2009 WL 650386, at *4 (N.D. Cal. Mar. 11, 2009) (granting motion to remand where plaintiff
  25    alleged harassment claim against former supervisor because the supervisor’s alleged comments—“that
  26    [p]laintiff liked to do things ‘the old fashioned way’—arguably were not necessary to any personnel
  27

  28    2
         As used during Plaintiff’s deposition, the term “Menzies” referred to the corporate defendants
        generally in this case. (Jackson Decl., ¶ 1, Ex. A, Sha Dep. Tr. at 28:19-29:2.)
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    1   decisions that [the supervisor] was obligated to perform”). The same is true for Plaintiff’s testimony
    2   regarding any communications he had with Aguilera thereafter. (See generally, Jackson Decl., ¶ 10, Ex.
    3   I, Sha Dep. Tr. at 173:9-174:24, 176:2-191:25, 193:9-199:2, 203:10-15; Jackson Decl., ¶ 10-11, Ex. I-J,
    4   Sha Dep. Ex. 22). Accordingly, there is no possibility that Plaintiff can state a cause of action against
    5   Aguilera, such that Aguilera is a sham defendant and the Court must disregard her citizenship for
    6   purposes of this removal.
    7                    D.     The Amount in Controversy Requirement is Satisfied
    8              36.   From the face of the Complaint, the amount in controversy in this action exceeds
    9   $75,000.00, exclusive of interests and costs. Among other claims, Plaintiff alleges that ASI and
  10    Menzies discriminated and retaliated against him, harassed him, failed to prevent discrimination and
  11    harassment against him in the workplace, and wrongfully terminated his employment. (See generally,
  12    Complaint.) Plaintiff seeks compensatory, consequential, general, special, and punitive damages,
  13    attorneys’ fees and cost of suit, and interest. (Complaint at Prayer for Relief.) Specifically:
  14                     a.     Plaintiff alleges that, as a result of Defendants’ conduct, he “has suffered and
  15    continues to suffer . . . substantial losses in earnings and job benefits . . . .” (Complaint at ¶¶ 44, 56, 67,
  16    76; see also id. at ¶¶ 84, 94, and Prayer for Relief.) Plaintiff alleges that he was “making over $100,000
  17    per year” as a General Manager and his employment with Defendants ended “on or about January 3,
  18    2023.” (Complaint at ¶¶ 13, 24.) At the time of termination, Plaintiff was earning an annual salary of
  19    $108,000.00, equivalent to an hourly pay rate of approximately $51.92. (Bazerkanian Decl., ¶ 4.)
  20    Accordingly, Plaintiff’s claim for “loss in earnings” alone, as of the date of removal, exclusive of any
  21    interest, amounts to approximately $130,838.40.3 Furthermore, several district courts have adopted “[a]
  22    projected future trial date within a year of removal.” Ulloa v. Cal. Newspaper Partners, No.
  23    LACV2011776JAKAGRX, 2021 WL 6618815, at *6-7 (C.D. Cal. Oct. 21, 2021) (collecting cases).
  24    Assuming a trial date sometime in March 2025 (12 months after removal), an estimate of Plaintiff’s
  25    claim for “loss in earnings” amounts to approximately $238,832.00. 4
  26
        3
  27      [$51.92 x 40 hours per week = $2,076.80 per week. There are 63 weeks between the end of Plaintiff’s
        employment, January 3, 2024, and the date of removal, March 20, 2024. Accordingly, $2,076.80 per
  28    week x 63 weeks = $130,838.40.]
        4
          [There are 115 weeks between the end of Plaintiff’s employment, January 3, 2024, and a projected trial
        date one year from removal, March 20, 2025. Accordingly, $2,076.80 per week x 115 weeks =
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    1                    b.     Plaintiff also alleges that, as a result of Defendants’ conduct, he “has suffered and
    2   continues to suffer . . . humiliation, emotional distress, and physical and mental pain and anguish.”
    3   (Complaint at ¶¶ 44, 56, 67, 76; see also id. at ¶¶ 85, 95, and Prayer for Relief.) While the exact amount
    4   of Plaintiff’s alleged emotional distress damages is not currently known, based on Plaintiff’s allegations,
    5   such alleged damages are far more than nominal in character.
    6                    c.     Plaintiff also seeks punitive damages. (Complaint at ¶¶ 46, 58, 69, 78, 86, 96, and
    7   Prayer for Relief.) California courts have indicated that punitive damages may, conservatively, be two
    8   to three times the amount of compensatory damages. See, e.g., Bankhead v. ArvinMeritor, Inc., 205 Cal.
    9   App. 4th 68 (2012) (approving $4.5 million in punitive damages following a $1.85 award for
  10    compensatory damages); Sumner Hill Homeowners’ Ass’n, Inc. v. Rio Mesa Holdings, LLC, 205 Cal.
  11    App. 4th 999 (2012) (approving $2.4 million in punitive damages following a jury award of $804,000 in
  12    compensatory damages). Applying a conservative 2:1 ratio, Plaintiff’s claim for punitive damages,
  13    based on his claim for loss in earnings alone, amounts to $477,664.00 ($238,832.00 x 2).
  14                     d.     Plaintiff also seeks attorneys’ fees in this matter, which are includable in the
  15    amount in controversy. (Complaint at ¶¶ 45, 57, 68, 77, and Prayer for Relief); Galt v. JSS Scandinavia,
  16    142 F.3d 1150, 1155-56 (9th Cir. 1998); see also Guglielmino v. McKee Foods Corp., 506 F.3d 696,
  17    698, 701 (9th Cir. 2007) (holding that applying 12.5% of the total amount in controversy is a
  18    conservative estimate for attorneys’ fees). The total amount in controversy, as set forth in the
  19    paragraphs above, exceeds $716,496.00. Accordingly, a reasonable estimate of Plaintiff’s attorneys’
  20    fees is at a minimum $89,562.00 ($716,496.00 x 0.125).
  21               37.   Moreover, Plaintiff’s verified interrogatory responses evidence that the amount in
  22    controversy exceeds $75,000.00. In response to an interrogatory requesting that Plaintiff “state each and
  23    every item of damages that [he] claim[s] [he] suffered by reason of the occurrences that form the subject
  24    matter of [his] COMPLAINT[,]” Plaintiff itemized the following amounts:
  25                     1) Lost past earnings: $73,192 ($81,000 ($9,000 monthly salary x 9 months
  26                     (January – September)) – $7,808 YTD earnings at new job).
                         2) Lost future earnings: $1,254,000 [($108,000 yearly salary x 33 years =
  27                     $3,564,000) - $70,000 yearly salary x 33 years = $2,310,000)].

  28
        $238,832.00.]
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    1                    3) Lost future bonuses: $356,400 (yearly bonus estimated at $10,800 x 33
                         years).
    2                    4) Lost past benefits (medical, dental, vision): Approximately $13,500
    3                    (benefits estimated at $1,500/mon x 9 months to cover RESPONDING
                         PARTY and 3 dependents).
    4                    5) Lost future benefits (medical, dental, vision): Approximately $594,000
                         (benefits estimated at $1,500/mon x 33 years to cover RESPONDING
    5                    PARTY and 3 dependents).
    6
        (Jackson Decl., ¶ 7, Ex. G at Response to Special Interrogatory No. 3) (emphasis in original).
    7
                   38.   Accordingly, based on either Plaintiff’s broad allegations and demands for damages, or
    8
        Plaintiff’s verified interrogatory responses itemizing his damages, it is reasonable to estimate that the
    9
        amount in controversy far exceeds $75,000.00.
  10
        II.        THIS NOTICE OF REMOVAL IS TIMELY
  11
                   39.   This Notice of Removal is timely under 28 U.S.C. section 1446(b) because this removal
  12
        is being filed within 30 days after receipt by Defendants of the certified transcript of Plaintiff’s
  13
        deposition, from which it could be first ascertained that the case was subject to removal.
  14
                         A.     ASI’s Notice of Removal is Timely Based on Receipt of the Certified
  15
                                Transcript of Plaintiff’s Deposition
  16
                   40.   28 U.S.C. section 1446(b)(3) provides that “if the case stated by the initial pleading is not
  17
        removable, a notice of removal may be filed within thirty days after receipt by the defendant, through
  18
        service or otherwise, of a copy of an amended pleading, motion, order or other paper from which it may
  19
        first be ascertained that the case is one which is or has become removable.” (emphasis added.) In
  20
        determining timeliness of removal, the Ninth Circuit has adopted the “unequivocally clear and certain”
  21
        standard for determining when it “may first be ascertained that the case is . . . removable” within the
  22
        meaning of Section 1446(b)(3). Dietrich v. Boeing Co., 14 F.4th 1089, 1094 (9th Cir. 2021).
  23
                   41.   A deposition transcript can “constitute ‘other paper’ within the meaning of section
  24
        1446(b).” See Carvalho v. Equifax Info. Servs., LLC, 629 F.3d 876, 886-87 (9th Cir. 2010). “District
  25
        courts in this Circuit have held that the receipt of the deposition transcript, not the deposition itself,
  26
        begins the thirty-day removal timer.” Figueroa v. Delta Galil USA, Inc., No. 18-CV-07796-RS, 2019
  27
        WL 1433727, at *3 (N.D. Cal. Apr. 1, 2019) (citing Godoy v. Winco Holding Inc., No. 15-cv-01397-
  28
        ODW-SP, 2015 WL 6394474, at *4 (C.D. Cal. Oct. 22, 2015) (“The deposition transcript is thus the first
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    1   paper under which it could be ascertained that the case was removeable.”); Williams v. Agilent Techs.,
    2   No. 04-1810-MMC, 2004 WL 2648197, at *4 (N.D. Cal. Aug. 5, 2004) (“[B]ecause defendant removed
    3   the instant action within 30 days of receiving the transcript of the [plaintiff’s] deposition, the court finds
    4   the removal proper.”)); Green v. Ritz-Carlton Hotel Co., L.L.C., No. 223CV07513MEMFRAO, 2023
    5   WL 8809286, at *2 (C.D. Cal. Dec. 20, 2023) (thirty-day removal deadline was triggered when
    6   defendant’s counsel received the transcript of plaintiff’s deposition”); see also Morgan v. Huntington
    7   Ingalls, Inc., 879 F.3d 602, 612 (5th Cir. 2018) (thirty-day window to remove a case begins upon
    8   “receipt of the deposition transcript”).
    9              42.   Here, ASI received service of the Complaint on or about June 15, 2023. (Bazerkanian
  10    Decl., ¶ 4. However, Defendants were not on notice that the case was removable based on the face of
  11    the Complaint, as it was not until receipt of Plaintiff’s certified deposition transcript that Defendants
  12    determined there was no possibility that Plaintiff could establish a cause of action against Aguilera.
  13    Specifically, as explained in Section I.C, supra, it was ambiguous what Plaintiff meant by his allegation
  14    that Aguilera “repeatedly . . . sought to obstruct [his] return to work,” which necessitated his deposition.
  15    Plaintiff’s deposition was also necessary to ascertain the scope of his communications with Aguilera, so
  16    that Defendants could determine whether there was a non-fanciful possibility that Plaintiff could amend
  17    the complaint to state a claim against Aguilera personally. See Grancare, 889 F.3d at 550 (fraudulent
  18    joinder inquiry requires district court to consider “whether a deficiency in the complaint can possibly be
  19    cured by granting the plaintiff leave to amend”); see also Dietrich, 14 F.4th at 1094 (explaining that the
  20    “unequivocally clear and certain” standard guards against premature and protective removals and
  21    assures removal “occurs once the jurisdictional facts supporting removal are evident”) (internal
  22    quotation marks and citation omitted).
  23               43.   Defendants deposed Plaintiff on February 6, 2024. (Jackson Decl., ¶ 8.) Defendants’
  24    counsel received a certified transcript of Plaintiff’s deposition on February 19, 2024. (Jackson Decl., ¶
  25    9, Ex. H. Accordingly, this Notice of Removal is timely as it is being filed within 30 days of receipt of
  26    Plaintiff’s certified deposition transcript. 28 U.S.C. § 1446(b)(3).
  27    III.       THE OTHER REQUIREMENTS FOR REMOVAL ARE MET
  28               44.   Removal to this Court is proper as the Superior Court of the State of California, County

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    1   of San Francisco, where this action was originally filed, is located within this district.
    2              45.   Menzies believes that the documents contained in Exhibit L to the Jackson Declaration
    3   comprise the complete record of filings made in the San Francisco County Superior Court.
    4              46.   Because Plaintiff on the one hand, and ASI and Menzies on the other hand, are citizens of
    5   different states and the amount in controversy exceeds $75,000.00, this Court has original jurisdiction
    6   over all causes of action alleged in this matter pursuant to the provisions of 28 U.S.C. section 1332 and
    7   the entire action may be removed to this Court pursuant to the provisions of 28 U.S.C. section 1441.
    8              47.   This action was not commenced in state court more than one year before the date of
    9   removal. See 28 U.S.C. § 1446(c)(1).
  10               48.   Pursuant to 28 U.S.C. section 1446(a), Menzies (and Aguilera) are represented by the
  11    same counsel as ASI and consent to the removal.
  12               49.   Pursuant to 28 U.S.C. section 1446(d), ASI is filing written notice of this removal with
  13    the Clerk of the Superior Court of the State of California, County of San Francisco. Copies of the
  14    Notice of Removal are also being served on Plaintiff’s counsel pursuant to 28 U.S.C. section 1446(d).
  15               50.   Wherefore, ASI prays that this action be removed from the Superior Court of the State of
  16    California, County of San Francisco to the United States District Court for the Northern District of
  17    California, San Francisco Division, and for such further relief as may be just and proper.
  18               51.   This Notice of Removal is filed subject to and with full reservation of rights, including
  19    but not limited to, defenses and objections to venue, improper service of process, and personal
  20    jurisdiction. No admission of fact, law, or liability is intended by this Notice of Removal, and all
  21    defenses, motions, and pleas are expressly reserved.
  22

  23    DATED: March 20, 2024                            FOLEY & LARDNER LLP
                                                         CHRISTOPHER WARD
  24                                                     KEVIN JACKSON
  25

  26
                                             /s/ Kevin Jackson
  27                                         KEVIN JACKSON
                                             Attorneys for Defendants AIRCRAFT SERVICE
  28                                         INTERNATIONAL, INC.; MENZIES
                                             AVIATION (USA), INC.; TRACY AGUILAR
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